Case 3:08-mc-80030-JSW Document 26-5 Filed 05/01/08 Page 1 of 6

EXHIBIT “B”

Iran Energy Data, SGdisé3:08iM0-80080-05VGaDBbiument 26cal Filed 05/01/08 Page 2 of 6
,Energy Information Administration |

Page | of 5

Official Energy Statistics from the U.S. Government

Home > International > Country Analysis Briefs > Iran

Iran

iran is OPEC's second-
largest oil producer and
the fourth-largest crude
oil exporter in the world.

http://www.eia.doe.gov/emeu/cabs/Iran/Oil. html

Oil

According to Oil and Gas Joumal, \ran has 136 billion barrels of proven oil reserves, or roughly 10
percent of the world's total proven petroleum reserves as of January 1, 2007. Iran has 40 producing
fields, 27 onshore and 13 offshore, with the majority of crude oil reserves located in the southwestern

Khuzestan region near the Iraqi border. Iran's crude oil is generally medium in sulfur content and in the
28°-35° API range.

Top Proven World Oil Reserves, January 1, 2007

Saudi Arabia 259.8
Caneda 1792

fran

raq E
Kuvvait —
Le =
Venezuela E
Russia fi
Libya [aa
Ngeia

Kazakhstan

. Billion Barrels
Source: Oil & Gas Journal, Jan, 1, 2007

Iran is OPEC's second-largest producer after Saudi Arabia. In 2006, Iran produced an estimated 4.2
million barrels per day (bbl/d) of total liquids, of which 3.8 million bbl/d was crude ail, equal to 5 percent
of global production.

OPEC Total Crude Oil Production in 2006E

Saudi Arabia Yr 92

Iran

fe 3.8

Kuwait

Venezuela

United Arab Emirates [B
Nigeria

tracy

Libya

Algeria 2

Indonesia [

Qatar

Million Barrels Per Day
Source: EIA Short-Term Enerqy Qutlook (May 2007)

Iran's oil consumption totaled 1.6 million bbi/d in 2006. The Iranian government heavily subsidizes the
price of refined oil products which has contributed to increased domestic demand. Iran has limited
refinery capacity to produce light fuels, and imports much of its gasoline supply. Iranian domestic oil
demand is mainly for gasoline and automotive gasoils, but domestic demand for other oil products are
declining due to the substitution of natural gas. However, it is an overall net petroleum products exporter
due to large exports of residual fuel oil. Oil export revenues represent the majority of Iran's total exports
earnings, but the country suffers from budget deficits due to a growing population and large government

B

October 2007

Background

Full Report
HTML |

PDF

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subsidies on gasoline and food products. In 2005, the International Monetary Fund (IMF) estimated that
energy subsidies accounted for 12 percent of Iran's GDP, the highest rate in the world according to an
International Energy Agency (IEA) study.

Major Iranian Oil Field Production and Reserves, 2006
Production Capacity Reserves
Field Thousand (bbld) | Millions of Barrels
Ahwaz-Asmari 700 10,100
Marun 520 39 500
Gachsaran 460 6,500
Karanj-Parsi 250 4,650
Agha Jan 200 8,700
Nowrooz and Soroosh 200 6 000
Doroud 1 &2 200 600
Rag-e-Safid 180 2,400
Bangestan 158 6500
Abu Zar 140 50
SimA& EC &D 130 1,200
Salman 100 800
Major Field Total: 3,258 59,000

Source: Global insight

Iran produced 6 million bbi/d of crude oil in 1974, but has been unable to produce at that level since the
1979 revolution due to a combination of war, limited investment, sanctions, and a high rate of natural
decline inlran’s mature oil fields. Iran's oil fields need structural upgrades including enhanced oil
recovery (EOR) efforts such as natural gas injection. Iran's fields have a natural annual decline rate
estimated at 8 percent onshore and 10 percent offshore, while current Iranian recovery rates are 24-27
percent, 10 percent less than the world average. It is estimated that 400,000-500,000 bbl/d of crude
production is lost annually due to reservoir damage and decreases in existing oil deposits.

Upstream Projects

The Azadegan project phases | and II represent the greatest potential increase in Iranian crude oil
production. Azadegan contains 26 billion barrels of proven crude oil reserves, but is geologically complex
and difficult to extract. Iran and Venezuela have agreed on a $4 billion investment in the Ayacucho 7
block, where there are an estimated 31 billion barrels of oil. Iran's Northern Drilling Company (NDC) has
also worked with Russia's Lukoil on oil field development in the Caspian Sea. (See Caspian Sea

Analysis Brief)
New Major lranian Upstream Projects through 2012

Field Company  |Thousand bbl/d| Online
Salman, Foroozan, Daroud] Total, Petro Iran 200 2007
Darkhovin, Phase II & Ill ENI 100 2007
South Pars (Ahwaz) NOIC 150 2008
Azadegan Phase | (south) NIOC 100 2009
Kushk-Hosseinieh NOIC 300 2010

NIOC &
Yadavaran Chinese Partners 300 2011
Azadegan Phase II (north) NOIC 110 2012
New Potential Total: 1,260

Source: OPEC, Global Insight

Iran plans to increase oil production to over 5 million bbl/d by 2010, but it will need foreign help.
According to Global Insight, an estimated $25-35 billion is required to meet the government's 5.8 million
bbV/d target by 2015. Investment in Iran's energy sector has been tempered due to the election of the
conservative government of President Mahmoud Ahmadinejad in 2005, the international controversy
surrounding the Iranian uranium enrichment and nuclear program, and economic sanctions. According to
the IEA 2007 Medium-Term Oil Market Report, Iran will not be able to increase its net expansion capacity
through 2072.

U.S. Sanctions

U.S. sanctions against Iran due to Iran's historic suppor for international terrorism and its actions against
non-belligerent shipping in the Persian Gulf impact the development of its petroleum sector. According
to the Iran Transactions Regulations, administered by the U.S, Department of Treasury's Office of
Foreign Assets Control (OFAC), U.S. persons may notdirectly or indirectly trade, finance, or
facilitate any goods, services or technology going to or from Iran, including goods, services or technology
that would benefit the Iranian oil industry. U.S. persons are also prohibited from entering into or
approving any contract that includes the supervision, management or financing of the development of
petroleum resources located in Iran.

Sector Organization
The state-owned National Iranian Oil Company (NIOC) is responsible for oil and gas production and
exploration. The National Iranian South Oil Company (NISOC), a subsidiary of NIOC, accounts for 80

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percent of local oil production covering the provinces of Khuzestan, Bushehr, Fars, and Kohkiluyeh va
Boyer Ahamd. Though private ownership of upstream functions is prohibited under the Iranian
constitution, the government has allowed for buyback contracts which allow international oil companies
(IOCs) to enter exploration and development through an Iranian affiliate. The contractor receives a
remuneration fee, usually an entitlement to oil or gas from the developed operation. In August 2007,
President Mahmoud Ahmadinejad appointed NIOC executive Gholamhossein Nozari to serve as Acting
Oil Minister, replacing Vaziri Hamaneh and creating controversy over President Ahmadinejad’s role in the
energy sector.

Exports

According to International Energy Agency's Monthly Oil Data Service and Global Trade Atlas, Iran's net
crude and product exports in 2006 averaged 2.5 million bbi/d, primarily to Japan, China, India, South
Korea, Italy, and other Organization for Economic Co-operation and Development (OECD) nations,
making it the fourth-largest exporter of crude oil in the world. In 2006, Iran’s oil export revenues
amounted to $54 billion.

Top Iranian Crude Oil Exports, 2006
Country Thousand (bbl/d)
Japan 446
China 335
India*™ 302
South Korea 204
Italy 191
Turkey 179
France 135
South Africa 127
Taiwan VW
Greece WF
Other 345
Total Exports: 2,500

*india's imports only reported for April-August 2006
Source: IEA Monthly Oil Data Service, March 2007;
Global Trade Atlas

lran’s Oil Production and Consumption, 1976-2006E

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# so
«* Production
o
40 4
i t
& 304
£ Het Exports
= 204
‘
0.0 TTT

1976 1979 1982 1985 i988 1991 1994 1997 2000 2003 2006
Source: EIA International Petroteum Monthly
Short-Term Energy Outlook (July 2007)

Year

Export Terminals

Iran has the largest oil tanker fleet in the Middle East, the National Iranian Tanker Company, which holds
29 ships including Very Large Crude Carriers. Kharg Island is the country’s largest terminal with a
holding capacity of 16 million barrels of oil and a loading capacity of 5 million bbi/d, followed by Lavan
Island with capacity to store 5 million barrels and loading capacity of 200,000 bbi/d. Other important
terminals include Kish Island, Abadan and Bandar Mahshar, and Neka, which helps facilitate imports
from the Caspian region. The Strait of Hormuz, on the southeastern coast of Iran, is an important route
for oil exports from Iran and other Persian Gulf countries. (See Persian Gulf Analysis Brief) At its
narrowest point the Strait of Hormuz is 34 miles wide, yet an estimated 17 million barrels, or roughly two-
fifths of all seaborne traded oil, flows through the Strait daily. Iranian Heavy Crude Oil is Iran’s largest
crude export at 1.6 million bbl/d followed by Iranian Light at 1 million bbV/d.

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National Iranian Gil Company (NIOC) Crude Exports by Blend
Name API Gravity | Sulfur content| Exports (bbl/d)

lranian Heavy sie 1.70% 1.6 million

Iranian Light 346° 1.40% 1 million

Foroozan Blend

and Sirri 29-31° nia 165 000

Lavan Blend 34-35° 1.8-2% 75,000

Refining

Iran’s total refinery capacity is 1.5 million bbV/d from nine refineries operated by the National Iranian Oil
Refining and Distribution Company (NIORDC), a NIOC subsidiary. Iranian refineries are unable to keep
pace with domestic demand, and face major infrastructure problems. The country plans to add around
985,000 bbi/d of refining capacity by 2012, mostly through expansions and upgrades for gasoline yields
at the Bandar Abbas, Bushehr, and the 90-year-old Abadan refineries. Large expansion projects at
Bandar Abbas, including new catalytic reformers, distillation units, and condensate splitters will help
supply the domestic demand, but it will probably not eliminate all gasoline imports. Iran has also
discussed joint ventures in Asia, including China, Indonesia, Malaysia, and Singapore to expand refining

activity.
IRAN REFINERY PROJECTS (through 2012)
Additional
Production
Capacity
Refinery Project Type Online| (thousand bbid)| Notes
heavy crude
Bandar Abbas |Upgrade & Expansion| 2012 300 processing
Bushehr New Refinery TBO 170
Abadan Upgrade 2003 140
gasoline
Abadan New Refinery 2012 80 production
Arak Expansion 2009 80
Bandar Assaluyeh New Refinery TBD 80
Bandar Abbas Expansion 2009 60
gasoline
Tehran Expansion 2012 50 roduction
gasoline
Tabriz Expansion 2012 25 production
Total New Refinery Capacity: 985

Source: PFC Energy, Global insight

Pipelines

Iran has an expansive domestic oil network including 5 pipelines, and multiple international pipeline
projects under consideration. Recently, an expansion of the 150 mile pipeline from the port of Neka on
the Caspian coast to Rey, Tabriz, and Tehran refineries has reached a capacity of 300,000 bbl/d
according to Global Insight. |ran has invested in its import capacity at the Caspian port to handle
increased product shipments from Russia and Azerbaijan, and enable crude swaps with Turkmenistan
and Kazakhstan. In the case of crude swaps, the oil from the Caspian is consumed domestically in Iran,
and an equivalent amount of oil is produced for export through the Persian Gulf with a Swiss-trading arm
of NIOC for a swap fee.

In 2006, Iranimported Gasoline

over 192,000 bbi/d of _|ranis the second biggest gasoline importer in the world after the United States, consuming over 400,000
gasoline and relied upon _bbi/d. According to FACTS Giobal Energy, Iran imported over 192,000 bbi/d of gasoline in 2006 costing
imports to meet almost — $5 billion. The gasoline consumption growth rate has averaged ten percent annually over the past six
half of its fuelneeds — years, and the cost of imports is expected to reach $6 billion in 2007, up from $2.8 billion in 2005.
costing $5 billion. Gasoline prices are heavily subsidized, and sold below the market price at around 42 cents per gallon,
which has encouraged increased consumption. An increase in vehicle sales in recent years has also
contributed to the problem. According to PFC Energy, car ownership in Iran grew 250 percent between
1990 and 2006, and a majority of these vehicles are older models. Gasoline powered vehicles in Iran are
expected to reach 14.9 million by the end of 2007. Iran does not have sufficient refining capacity to
meets its domestic gasoline and other light fuel needs. Therefore Iran imports gasoline from India,
Turkmenistan, Azerbaijan, the Netherlands, France, Singapore, and the United Arab Emirates. Iran also
imports from large, multinational wholesalers such as BP, Shell, Total, Vitol, LUKoil, and several Chinese

companies.

New Gasoline Rationing System

In June 2007, the Iranian government instituted a gasoline rationing system. The decision followed a 25
percent price increase to 42 cents per gallon in May. NIORDC is responsible for the program which
allows private cars to purchase 26 gallons per month and taxis to buy 211 gallons per month. The rations
and increased costs are politically unpopular in Iran. Customers are allowed to purchase their ration six
months in advance. Part-time taxis, commercial vehicles, and government vehicles also have special

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allowances. Records are maintained on smart cards, and later this year the government is expected to
announce the price for gasoline bought beyond quota levels.

Iran's gasoline consumption dropped 30 percent immediately after the rationing scheme was adopted.
NIOC executive, Hojjatollah Ghanimifard, stated that Iranian gasoline imports for August 2007 dropped
14 percent, although an additional $1.5 billion was requested by the Iranian Oil Ministry to increase
gasoline imports through March 2008. The International Energy Agency reported in its August 2007 Oil
Market Update that gasoline consumption will likely increase again due to the fact that Iran allows
advance purchase of gasoline at a subsidized rate. The combination of rationing, price hikes, increased
refining capacity, as well as compressed natural gas (CNG) production, will reduce Iranian gasoline
import demand by an estimated 30,000 bbl/d in the next three years according to FACTS Global Energy.

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